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                   IN THE UNITED STATES BANKRUPTCY COURT
                              HAMMOND DIVISION
                        NORTHERN DISTRICT OF INDIANA

 IN RE:                                         )
 ROBERT NICHOLS,                                )        Case No: 18-22695
                                                )
 Debtor(s)                                      )
                                                )        Chapter: 13

              M OTION TO VOLUNTARILY DISMISS CHAPTER 13 CASE

Debtor, Robert Nichols, by and through Counsel, Harris Law Firm, P.C., by Nicholas

A. Snow, respectfully moves the Court to dismiss this proceeding pursuant to 11 U.S.C.

§1307(b). In support of said motion, Debtor offers the following:

       1. That Debtor filed his bankruptcy petition on October 5, 2018;

       2. That this proceeding was filed as a Chapter 13 proceeding, and has never been

             converted;

       3. That a number of Debtor’s schedules, despite having been filed with the Court,

             will require amendment;

       4. That Debtor has been approved to pay the filing fee in installments, but has not

             yet made a payment;

       5. That Debtor is making inquiry to his mortgage company with regard to a possible

             modification to his mortgage, which, if successful, would allow him to file a

             Chapter 7 proceeding;

       6. That Debtor is now gainfully employed and intends to make a determination of

             whether to file a Chapter 7 proceeding or re-file under Chapter 13 at such time as

             he receives a final determination from his mortgage company regarding a

             potential loan modification;

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       7. That, under 11 U.S.C. §1307(b), the Debtor may dismiss this Chapter 13 filing at

           any time; and

       8. That a copy of this Motion has been sent, on the date indicated below, to the

           Debtor, the Chapter 13 Trustee serving in this case and the U.S. Trustee.



WHEREFORE, Debtor respectfully requests that the Court issue an order dismissing this

case without prejudice to any party, and further granting all other relief which the Court

deems just and proper in this circumstance.


 DATED:         NOVEMBER 20, 2018                      Robert Nichols, Debtor

                                               BY:     /s/ Nicholas A. Snow
                                                       NICHOLAS A. SNOW
                                                       Attorney for Debtor
                                                       Harris Law Firm, P.C.
                                                       11410 Broadway
                                                       Crown Point, IN 46307
                                                       Tel: (219)661-1110
                                                       Fax: (219)661-1118
                                                       Email: nick@ harrisla wfirmpc. net

                              CERTIFICATE OF S ERVICE

 This is to certify that notice of this Motion was served on the parties by placing a copy in
 the U.S. Mail directed to the addresses listed below, or via the Court’s electronic noticing
 system on        NOVEMBER 20, 2018.

 /s/ Nicholas A. S now

 Paul R. Chael, Chapter 13 Trustee, 401 W. 84th Dr., Suite C, Merrillville, IN 46410;
 U.S. Trustee, 100 East Wayne Street, Room 555, South Bend, IN 46601;
 Robert Nichols, 119 W. 46th Ave., Gary, IN 46408-3905




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